               IN THE DISTRICT COURT OF THE UNITED STATES
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           ASHEVILLE DIVISION
                                1:16 CR 51-4


UNITED STATES OF AMERICA,                    )
                                             )
Vs.                                          )            ORDER
                                             )
STEVEN WHITE,                                )
                                             )
                 Defendant.                  )
____________________________________         )


       THIS MATTER is before the undersigned pursuant to a Violation Report

(#49) filed in the above entitled matter on July 21, 2016 alleging that Defendant has

violated terms and conditions of his pretrial release. At the close of a Rule 11 Plea

hearing the Government moved to dismiss the Violation Report. There was no

objection to the motion from the Defendant. As a result of this plea of guilty, the

undersigned entered an order detaining Defendant, pursuant to 18 U.S.C. §

3143(a)(2) and the oral motion to dismiss the Violation Report of the Government

will be allowed.

                                     ORDER

       IT IS, THEREFORE, ORDERED that the oral motion to dismiss the

Violation Report (#49) made by the Government is ALLOWED.




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                             Signed: July 26, 2016




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